     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 1 of 33




May 26, 2017

To: Jose Garza; David Richards and Luis Vera

From: George Korbel

re: Update of Expert Report and Reference to Additional Demonstration Districts




I. Assignment and Qualifications

      1. I have previously provided reports to this Court and testified in the

litigation involving the redistricting of Texas Congress, State House and State. In

an effort to duplicate, I adopt my previous reports and testimony with some

observations and updates.     Since last time I appeared before this Court I have

testified in only one contested to largely the same matters in the trial of the Texas

Voter ID case.    The State was a party defendant in that case and was represented

by the office of the Attorney General.    I have authored no additional articles.



II. Expert Opinion

Gingles Factors

A. Socio-economic Differences

      2. In preparation for earlier testimony in this case I was asked to examine

1
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 2 of 33




and contrast the socio-economic, employment and educational conditions of the

Anglo/White and Minority communities. The exhibits and testimony were largely

based on the census data available at the time of the hearings. There are now

more recent census estimates on these issues.       I have looked at those estimates

and have concluded that they do not materially change the evidence before the

Court.      The large financial, educational, employment and social gap remains the

same both statewide and in each of the counties which are at issue.

B. History of Discrimination

         3. I was asked to look at the history of discrimination in Texas —

particularly that involving voting. I testified and provided an exhibit including

citations to cases. Attached to this report is an update of that case list which

includes a number decisions that have taken place since the last hearings in this

matter.

         4. After this Court issued the order earlier this year relating to the

Congressional apportionment, Hispanic members of the state house introduced

Congressional and House plans as vehicles for legislation. The Legislature has

not held hearings on those plans and there has been no apparent discussion of

possible remedies for the areas of the state that the Court highlighted as

problematic.

2
      Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 3 of 33




       5. Rather, the legislature appears poised to adopt a number of statutes

relating to election suppression in the last few days of this current Legislative

session. I will supplement the report with references to these statutes.

C. History of the Redistricting Process and the Minority Population Growth

       6. The seats in Congress are apportioned to each State after the taking of

the Decennial Census on the basis of the population of each state.

       7. In the case of Texas, for example, there were 21 sets in Congress

apportioned to Texas in 1930. In the four decades (1930-1970) that followed, the

Texas Congressional Delegation increased to 24. This indicated that Texas was

growing slightly faster than the United States as a whole.

       8. The redistricting based on the 1970 Census coincided with the

beginning of the modern redistricting litigation in Texas as well as the

unprecedented minority (primarily Hispanic) growth. As a result in the four

decades after 1970, the Texas delegation to Congress grew from 24 to 36.                   I

attach a short powerpoint including a chart with 1970 through 2010 census

information with population projections through 2050.

       9. Overall, Texas population more than doubled in the 1970-2010 period.1

The growth rate was uneven across racial and ethnic groups. White or Anglos

1
  Before 1970, the Census did not attempt to comprehensively count Hispanics as they did
African Americans.
3
      Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 4 of 33




increased from 7.7 to 11.4 million or 48.2%. African Americans essentially

doubled in population from 1.4 million to almost 2.9 million. Hispanics, however

more than tripled in population going from just over 2 million in 1970 to almost

9.5 million in 2010. The “other,” largely Asian population, increased from just

under 100,000 persons to 1.3 million. Those growth rates are projected to

continue for the next 40 years.

       10. Stated another way, in 1970 Anglo or White Texans comprised almost

69% of the state population and by 2010 the Anglo segment had declined to just

over 45%. By 2020, the Anglo share of the state population is projected to

further decline to under 40% and by 2050, to only 22%.

       11. In the redistricting based on the 1970 Census, there were four of the 24

Congressional Districts which we would today define as Hispanic opportunity

districts.

       District 16 included El Paso and stretched out to Ector County.
       District 23 ran from Webb County up to Bexar, Guadalupe, Bee and other
             South Central Texas Counties.
       District 20 spanning the South and East side of Bexar County
       District 15 which is essentially Hidalgo, Cameron and the balance of South
             Texas
       12. In reapportionment based on the 1970 Census, Hispanics were 18.3%

of the population and had access to 4 of the 24 Congressional Districts (16.7%).

In 2010 Hispanics were over 37% of the population but have access to only 6 of

4
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 5 of 33




36 Congressional Districts (16.7%).

      13. Another way of looking at this is that if since 1970, the Texas minority

population had grown at the same rate as that of the Anglo population, Texas

would have been apportioned 23 Congressional Districts in 2010 and not the 36 it

received. In other words, without the minority growth, the state would have lost a

Congressional District rather than gaining 13.

      14. Hispanics contributed the lion’s share of the state Growth in the last 4

decades. But, Hispanic access to Congressional Districts did not increase.

Although the Anglo population declined from 68.5% in 1970 to 45.3% in 2010,

under PLAN C358, Anglos voters dominate 69% of the Congressional Districts.

Contrast the Growth 2000-2010 with the Growth Since 2010

      15. The Court has referred to the significance in the disproportionate

growth from 2000 through 2010. The White/Anglo population increased by

464,000 persons, while the Minority population provided the balance of the 4.3

million growth.

      16. We are now in 2017 looking at an election to be held in November of

2018. The State Data Center’s own projections show that from 2010 through the

election to be held in 2018, the 2000-2010 growth will be duplicated. In other

words, the state will have grown by another 4 million persons with an almost

5
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 6 of 33




identical disproportion in ethnicity.

C. The Demonstration Districts

      17. At trial, I testified and offered a number of demonstration districts.

The balance of this report will deal with additional House and Congressional

demonstration plans based on the Courts Orders and Findings earlier this year.

Standards that I Used to Draw the Demonstration Districts:

      18. There are any number of “so called” traditional redistricting concepts.

Some are imposed by the law, such as the county line rule for the Texas House.

Others are logical considerations such as the consideration of city and other

jurisdictional limit lines. Still others are rooted in good government concepts such

as respect for communities of interest and for incumbency.

      19. In my experience, one of the most important practical considerations is

an attempt to maintain precinct boundaries. This is significant because it simplifies

the holding of elections particularly where changes may have to be implemented

late in the process.

      20. Finally, some other considerations stem from judicial and

administrative decisions, such as the limitation on population deviation,

restrictions on excessive packing and cracking of minority population, and

restrictions on the use of race.

6
        Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 7 of 33




        21. As someone who has worked with many cities and school district as

both a litigator and as a consultant, I am particularly sensitive to process of the

implementation of a redistricting plan. Minimizing changes in the voting

precincts is central to the preparation for the election. I have attempted to draw

these Demonstration plans with reference to all appropriate standards.

        22.   I have consulted with people from each of the areas represented in the

House and Congressional Plans. I have worked with others with experience in

redistricting of House and Congressional Districts. I have relied on my

familiarity with the areas. I have relied on the testimony on cohesion and

polarization in this record and on advance copies of expert reports which I

anticipate will also be filed today.

        23. I have not included the actual maps and all of the data that I looked at

in the preparation of the demonstration plans. I relied primarily on the following

reports:

       Red 100 Population with County Sub Totals;
       Red 116 Special Tabulation of Citizen Voting Age Population 2005-2009;
       Red 116 Special Tabulation of Citizen Voting Age Population 2007-2011;
       Red 116 Special Tabulation of Citizen Voting Age Population 2011-2015;
       Red 202 Population with Voter Registration Data 2010-12;
       Red 202 Population with Voter Registration Data 2014-2016;
       Red 206 General Election Analysis for 2008-2016;
       Red 315 Compactness measures;
       Red 350 Incumbent Report;

7
      Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 8 of 33




     Red 371 Split Precinct Report.

       24. All of this information is available on the State’s Computer systems

under the reference of the House and Senate Plan numbers.

 State House Plan

       25. We made public a combined map of all House Demonstration Districts

that is available as H-391.

1. Fort Bend Mix

       26. H391 involves redrawing of Districts 26, 27, 28 and 85 in the Fort

Bend Mix (Fort Bend Jackson and Wharton Counties). It is set up as a “plug-in”

so that the Court could remove all of the Fort Bend Mix from H 358 and replace

them with H 391 districts 26, 27, 28 and 85. Districts 26, 27 and 28 are

essentially located in suburban Houston areas. Among other things as drawn, H

391 simplifies the districts and eliminates the split of the City of Richmond. It

combines the adjacent cities of Rosenberg and Richmond into District 85.

       27. PLAN H 391 includes a District 27 that is 47.9% (47.4% Black alone)

BCVAP including 16.2% HCVAP. Under H-358, District 27 is 47.0% Black

CVAP (46.5% Black alone CVAP). In addition, H 391 creates a

Black/Hispanic/Asian coalition district 26 that is 16.4% Hispanic; 17.2% Black

and 28.2% Asian CVAP. Under H 358, there was no such coalition district.

8
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 9 of 33




Plan H 391 maintains the existing African-American opportunity district and adds

a multi-ethnic coalition district.

      28. HD 27 is a compact coalition district at 47.4% BCVAP and 16.2%

HCVAP. It includes city of Houston neighborhoods as well as Missouri City,

Stafford, Meadows Place, Fresno CDP and Sienna Plantation CDP.

      29. HD 26 is a compact and cohesive coalition district at 16.4% HCVAP,

17.2% BCVAP, and 28.2% Asian CVAP. The district unites the city of Sugarland,

Mission Bend CDP, Four Corners CDP and unincorporated neighborhoods of Fort

Bend. While the Court has been presented other configurations for HD 26, which

show stronger electoral performance for minority candidates, this configuration

honors the Courts directive to respect city boundaries. We believe this district will

provide electoral opportunity for minority voters. The district is changing rapidly.

There was almost a ten point jump between 2012 and 2016 in support for the

minority candidate of choice for President (46.9% Obama ’12 to 56.2% Clinton

‘16). If the Court believes city boundaries to be a dominant criteria, this district

honors that directive while demonstrating the emergence of minority electoral

success.




9
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 10 of 33




2. Harris County

      30. There are 13 minority opportunity districts under Plan H 358 (131,

137, 139, 140, 141, 142, 143, 144, 145, 146, 147, 148 and 149). These result in

the election of 6 African American, 5 Hispanic and 2 Asians legislators.

      31. The Demonstration Plan for Harris County House is a “plug-in” plan

that affects only 5 of the 24 House Districts in Harris County. None of the

currently elected minority Districts is touched.

      32. The Court has found that the Harris County configuration is the result

of intentional vote dilution. Plan H 391 seeks to disinfect two districts in far

Western Harris County through the use of traditional redistricting principles by

respecting city boundaries and major roads and highways.

      33. Two naturally occurring concentrations of minority citizens in west

Harris have been systematically cracked and submerged into dominant Anglo

majority districts.

      34. By adjusting no more than five districts, two naturally occurring

minority concentrations can be allowed to emerge.

HD 132

       35. Using Interstate 10 on the south, FM 529 on the north, Highway 6 on

the east and North Mason Road (extending to similar VTD boundary roads) on the

10
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 11 of 33




west this district emerges. Plan H 391 further respects traditional redistricting

principles by removing city of Houston population on the south and pushing the

configuration north to encompass unincorporated western Harris County

neighborhoods. The district is compact, cohesive, and at 34.8% HCVAP plus

19.8% BCVAP a coalition district which performs for the minority candidates of

choice in exogenous elections.

HD 135

      36. Using the traditional redistricting principle of following major

highways and boundaries, a compact demonstration exhibit will reveal a naturally

occurring majority B+H+O CVAP concentration. Using Highway 1960/Hwy 6 as

the north and western boundary, extending east to the boundary of HD 139 (an

existing minority district protected by the VRA), this majority emerges. Plan H

391 adjusts this boundary somewhat to include a set of more cohesive

neighborhoods. The result is a naturally occurring concentration of minority

citizens who have the opportunity to pull, haul and trade and possibly emerge as

an opportunity district if the taint of intentional vote dilution is removed.

      37. The modification of District 135 results in a Black/Hispanic/Asian

Coalition District that is 26.6% Hispanic; 19.3% Black and 13.8% Asian CVAP.

Under the current plan none of the districts involved in this “plug-in” are either

11
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 12 of 33




Combined Minority or Coalition Districts. Harris County contains Districts

126-150 with the exception of 136.



3. Dallas County

Current Plan H-358

      38. Plan H358, the current plan, contains six compact minority opportunity

districts. (See footnote 49 on page 62 of House Court Order)

      39. HD 100 is a compact coalition district at 46.4% BCVAP plus 21.8%

HCVAP. The district contains five precincts in the city of Mesquite and is

otherwise within the city of Dallas. It performs reliably to allow African

Americans the opportunity to elect their candidates of choice.

      40. HD 103 is a compact coalition district at 40.6% HCVAP plus 13.9%

BCVAP. The 2016 SSVR is 34.7%. The district covers parts of the cities of

Dallas, Irving and Farmer’s Branch. It performs regularly to provide Hispanic

voters the opportunity to elect their candidates of choice. However, the Court has

found that the drawing of this district was the product of intentional vote dilution.

      41.    HD 104 is a compact Hispanic opportunity district at 56.8% HCVAP.

The district covers parts of the cities of Dallas and Grand Prairie and the city of

Cockrell Hill. It performs regularly to provide Hispanic voters the opportunity to

12
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 13 of 33




elect their candidates of choice. However, the Court has found that the drawing of

this district was the product of intentional vote dilution.

      42. HD 109 is a compact majority African-American opportunity district at

62.8% BCVAP. The district encompasses the Dallas County portions of the cities

of Cedar Hill, Lancaster, Wilmer, Hutchins, Glenn Heights and parts of the cities

of Dallas and DeSoto. It performs regularly to provide African-American voters

the opportunity to elect their candidates of choice.

      43. HD 110 is a compact majority African-American opportunity district at

54.9% BCVAP. The district encompasses parts of the cities of Dallas, Balch

Springs and Mesquite. It performs regularly to provide African-American voters

the opportunity to elect their candidates of choice.

      44. HD 111 is a compact majority African-American opportunity district at

57.2 BCVAP. The district encompasses the city of Duncanville and parts of the

cities of Dallas and DeSoto. It performs regularly to provide African-American

voters the opportunity to elect their candidates of choice.

b. Demonstration Plan 391

      45. Plan H 391 is a “plug-in” plan that redraws the Districts in Dallas

County with the exception of Districts 109 and 111. It eliminates or reduces the

splitting of the cities of Grand Prairie, Mesquite, Rowlett, Addison, Irving,

13
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 14 of 33




Garland and Balch Springs.

      46. Plan H 391 contains eight compact minority opportunity districts and a

demonstration district for HD 105, which remedies the intentional vote dilution

found in western Dallas County, but does not create a new coalition district there.

      47. HDs 109 and 111 are unchanged by this plan and remain compact

majority African-American opportunity districts as described in Plan H358 above.

      48. HD 100 is a compact coalition district at 46.4% BCVAP and 22.3%

HCVAP. The district is located entirely within the city of Dallas, including

neighborhoods from West Dallas through the Fair Park area, Dolphin Heights, and

Forrest Hills to Pleasant Grove and Buckner Terrace on the east. Incumbent Rep.

Eric Johnson, an African-American legislator and Vice-Chair of the House

Redistricting Committee, has approved the configuration of this district, which

will continue to provide the African-American community the opportunity to elect

the candidate of their choice.

      49. HD 110 is a compact majority African-American opportunity district at

50.1% BCVAP. The district encompasses parts of the city of Dallas and all of the

cities of Balch Springs and Seagoville. The incumbent State Rep. Toni Rose is an

African-American legislator who has approved this district configuration which

unites the city of Balch Springs and restores Seagoville, which had been removed

14
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 15 of 33




from the district in 1991. These communities from South Dallas to Seagoville are

compact and cohesive. It performs regularly to provide African-American voters

the opportunity to elect their candidates of choice.

      50. HD 104 is a compact Hispanic opportunity district at 58.7% HCVAP.

The 2016 SSVR is 54%. The district covers parts of the cities of Dallas and Grand

Prairie and the city of Cockrell Hill. It performs regularly to provide Hispanic

voters the opportunity to elect their candidates of choice. Incumbent Roberto

Alonzo (D-Dallas) resides in the district.

      51. HD 103 is a compact coalition district at 44.6% HCVAP plus 13.8%

BCVAP. The 2016 SSVR is 39.1%. The district covers parts of the cities of

Dallas, Irving, Carrollton and Farmer’s Branch. These cities are necessarily split to

comply with requirements of the Voting Rights Act (VRA). It will perform

regularly to provide Hispanic voters the opportunity to elect their candidates of

choice. Incumbent Rafael Anchia (D-Dallas) resides in the district.

      52. HD 105 is a compact community consisting predominately of south

Irving and north and central parts of Grand Prairie. This configuration cures the

intentional vote dilution found by the Court in Plan H 283. However, this

configuration at 31.7% HCVAP and 17.9% BCVAP does not rise to the

benchmark for a coalition district. Incumbent Rodney Anderson (R-Grand Prairie)

15
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 16 of 33




resides in the district.

       53. HD 102 is a proposed minority coalition district at 18.9% HCVAP plus

31.3 % BCVAP. It is located entirely within the city of Dallas in the northeast.

The northern portion is centered on the community of Hamilton Park, a traditional

and historic African-American community. The district extends along the LBJ

Freeway southeast to traditional working class neighborhoods of East Dallas and

extends south along Hwy 75 to Loop 12. Numerous apartment buildings and

affordable single family housing along these major Dallas thoroughfares define a

community of interest of working class families who are able to commute to often

changing job locations in various service industries. General election results

confirm that this district will consistently provide the opportunity for minority

voters to elect the candidate of their choice.

       54. HD 107 is a proposed coalition district at 22.5% HCVAP and 28.6%

BCVAP. The City of Mesquite is entirely within this district. The district also

includes contiguous City of Dallas precincts that have long been associated with

the Mesquite community in Pleasant Grove and in the commercial and

multi-family housing zones at the confluence of I-30, U.S. Hwy 80, and Loop 12,

up to Ferguson Road. The City of Mesquite and Mesquite ISD have dominated

one legislative district since the inception of single member districts, until the

16
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 17 of 33




2011 enactment. Founded in 1878, Mesquite has become one of the largest

suburbs of Dallas and the 20th largest city in the state. Known variously as the

Rodeo Capitol of Texas and the gateway to East Texas, Mesquite has a rich history

and strong community bonds.

      55. The current incumbent in HD 107, Victoria Neave, is a Latina who

won a hard-fought victory in 2016. About one half of the population in the current

HD 107 is within the city of Mesquite. Her father is an immigrant and successful

small businessman in Mesquite. Victoria’s family is part of the story of the

demographic change in the area. She intends to reside in the city of Mesquite.

      56. All remaining Dallas County districts are necessarily impacted by the

remediation of intentional vote dilution and the creation of one or more coalition

districts. Since the court found that the overall configuration of Plan H 283, the

underlying plan, was the product of intentional vote dilution, Plan H 391 seeks to

adhere to the Courts guidance regarding traditional redistricting principles,

specifically respect for city boundaries. Accordingly, the remaining districts were

constructed as follows, beginning from east to west.

      57. HD 113 begins with the small city of Sunnyvale, where incumbent

Cindy Burkett resides, and adds only city of Garland precincts until the full

population of a district is achieved around Buckingham Road in the north. This

17
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 18 of 33




naturally occurring configuration, consisting of the lower two thirds of Garland

and Sunnyvale, is less than majority Anglo and could allow the later emergence of

a minority opportunity district.

      58. HD 112 with incumbent Angie Chen Button (R-Garland) takes the

remainder of Garland and the cities of Rowlett and Sachse to the east. Since it

cannot absorb the entire city of Richardson and stay in deviation, it takes the

northern part and reaches into Dallas to include the residence of incumbent Linda

Koop (R-Dallas) who was displaced by the formation of coalition district HD 102

in Dallas.

      59. HD 114 with incumbent Jason Villalba (R-Dallas) remains centered in

north Dallas and includes the city of Addison and the remainder of Richardson.

      60. HD 108 with incumbent Morgan Meyer (R-Dallas) retains the so called

Park Cities and central Dallas upscale neighborhoods.

      61. Finally, HD 115 with incumbent Matt Rinaldi (R-Irving) includes the

city of Coppell and the remainders of Irving, Carrollton and Farmers Branch.

4. Tarrant County

      62. Plan H 391 redraws all of the districts in Tarrant County. It eliminates

or reduces the splitting of the cities of Grand Prairie, Euless, Haslet, Richand Hills

Haltom City, Keller, Sagnaw, Sanson Park, River Oaks Kennedale and Arlington.

18
       Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 19 of 33




        63. Plan H358, the current plan, contains three performing minority

opportunity districts. Two are compact and one, arguably, is not.

        64. HD 95 is a compact coalition district at 48.8% Black CVAP plus

16.3% Hispanic CVAP. It is predominately made up of area from the city of Ft.

Worth, but contains the small cities of Forest Hill, Everman and Edgecliff Village.

It performs reliably to allow African Americans the opportunity to elect their

candidates of choice. Incumbent Nicole Collier (D Ft. Worth) is an

African-American female.

        65. HD 101 is a compact coalition district at 24.3% Hispanic CVAP plus

29.9% Black CVAP. In southeastern Tarrant County, the district includes a

southern part of Arlington and Grand Prairie. It regularly provides minority

citizens the opportunity to elect the candidates of their choice. Incumbent Chris

Turner (D-Arlington) is an Anglo male.

        66. HD 90 is majority Latino district at 53.9% HCVAP, 50.9% SSVR and

regularly performs for the Latino candidates of choice. However, the district is

arguably not compact. The Court found that this district was manipulated to

undermine Latino voting strength by masking the loss of another district (page

71).

19
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 20 of 33




       67. Plan H 391 contains four compact minority opportunity districts in

Tarrant County.

       68. HD 95 is a compact majority African-American district at 50.8% Black

CVAP. It is predominately city of Ft. Worth, but contains the small city of Forest

Hill. It performs reliably to allow African Americans the opportunity to elect their

candidates of choice. Incumbent Nicole Collier (D Ft. Worth) resides in the

district.

       69. HD 101 is a compact coalition district at 19.5% Hispanic CVAP plus

32.3% Black CVAP. It regularly provides minority citizens the opportunity to

elect the candidates of their choice. In south east Tarrant County the district

includes southern Arlington and all of the Tarrant County portion of the city of

Grand Prairie. Incumbent Chris Turner (D-Arlington) lives in the district.

       70. HD 90 is compact majority Hispanic district at 51.1% Hispanic CVAP,

48.3% SSVR and regularly performs for the Latino candidates of choice. At the

request of the Latino incumbent, Ramon Romero (D-Ft. Worth), the small

African-American community of Como remains in the district. Interestingly, the

BVAP is reduced to 8.8% in this plan, down from 17.4% in Plan H283 and 12.1%

in Plan H358. Apparently, the map drawers in Plan H 283, in their exuberance to

20
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 21 of 33




connect every pocket of Hispanics into the district used bridges of

African-American neighborhoods. By eliminating the bizarre lower portion of the

eastern arm in HD 90 many African-American voters were freed up to bolster the

Black percentage in HD 95. Thus allowing HD 95 to exceed 50% BCVAP, while

simultaneously releasing Black growth precincts in the far southwest (VTDs 1257,

1440, and 1300) to the newly configured HD 93 described below. The extreme

manipulation of HD 90 was used to block the emergence of another minority

opportunity district.

      71. HD 93 is a compact minority opportunity district, consistently

providing minority voters the opportunity to elect the candidates of their choice in

exogenous elections. At 15.9% HCVAP and 27.0% BCVAP HD 93 is not a

coalition district, but it does provide electoral opportunity. (A majority B+HCVAP

district can be drawn in this area by lowering the BCVAP in HD 95 to just over

40%, but the incumbent in HD 95 requested that this not be demonstrated. We

agree that a coalition district is not needed here to provide electoral opportunity

for minorities.) The configuration of HD 93 in Plan H 391, and its electoral

strength for minority voters, is based on uniting all of the Black growth

neighborhoods of far southwest Fort Worth. The district extends through cities of

Edgecliff Village, Everman and Kennedale to precincts in far southwest Arlington

21
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 22 of 33




to include the residence of an incumbent, Bill Zedler (R-Arlington). These

Arlington precincts are included to avoid a pairing.

      72. All remaining Tarrant County districts must necessarily be adjusted to

account for the removal of the lightning bolt configuration of HD 93 which ran

from north Tarrant through central Fort Worth to Arlington and Grand Prairie.

With the finding of intentional vote dilution in the drawing of Tarrant County,

Plan H 391 seeks to adhere to the Courts guidance regarding traditional

redistricting principles, specifically by respect for city boundaries. Accordingly,

the remaining districts were constructed as follows.

      73. HD 99 is represented by Charlie Geren (R-Ft. Worth), the Dean of the

delegation. His district remains largely intact, including northwest Fort Worth and

numerous small cities. From his eastern boundary the other district are configured

to not split any of the northeastern suburban cities to the greatest extent possible.

HD 91 consists of north Fort Worth neighborhoods and the entire cities of Haslet

and Haltom City. A small portion of North Richland Hills is included to

necessarily take excess population from the HD 92 city configuration. This district

pair incumbents Matt Krause (R-Ft. Worth) and Stephanie Klick (R-Ft. Worth).

      74. HD 92 contains the entire cities of Watauga, Richland Hills, Hurst,

Bedford and all of North Richland Hills that would fit into the deviation.

22
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 23 of 33




Incumbent Jonathan Stickland (R-Bedford) resides in the district.

      75. HD 98 contains the entire cities of Grapevine, Southlake, Colleyville,

Keller, Westlake and a few north Fort Worth neighborhoods.

      76. HD 94 contains the entire city of Euless, and a couple of Fort Worth

precincts which connect it to northeast Arlington. All of east Tarrant County is

seeing rapid demographic change. This compact, naturally occurring configuration

is not a minority opportunity district because it has not performed for minority

candidates of choice in off-Presidential years. However, by honoring traditional

redistricting principles with respect to city boundaries, an opportunity district

could emerge here. This is an open seat.

      77. HD 96 takes in the remainder of Arlington, Pantago, Dalworthington

Gardens and the portion of Mansfield which cannot be absorbed by HD 97 on the

south. Incumbent Tony Tinderholt (R-Arlington) resides in the district.

      79. Finally, HD 97 is based on traditional neighborhoods in southwest Fort

Worth and the suburban communities of Benbrook, Crowley, Burleson, Rendon

CDP, and a portion of Mansfield.

5. A “Plug-in” for the Nueces County Mix (Districts 32,34,30 and 43)

      80. `Plan H 391 restores an effective Latino opportunity district to Nueces

(HD 32) and maintains an effective one in HD 34 by adding Kleberg County to the

23
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 24 of 33




configuration and allowing significant Anglo population from Nueces to be joined

with Victoria County in HD 30. Incumbent Todd Hunter (R-Corpus Christi) is

paired with incumbent Geanie Morrison (R-Victoria) in that configuration.

      81. HD 34 is maintained as an effective Hispanic opportunity district with

66.4% HCVAP and 59.2% SSVR. It continues to perform for the minority

candidates of choice in exogenous elections. Incumbent Abel Herrero

(D-Robstown) resides in the district.

      82. HD 32 becomes an effective Hispanic opportunity district as well at

61.2% HCVAP and 53.3% SSVR. While slightly weaker than HD 34 electorally, it

effectively performs to give Latino citizens the opportunity to elect the candidates

of their choice. Incumbent J.M. Lozano (R-Kingsville) resides in the district, but

would be expected to move to HD 43 in this configuration. His hometown,

Premont, is in Jim Wells County as well as one of his businesses.

6. Bell Lampasas Districts 54 and 55

      83. Under the Current Plan 358, Districts 54 at 167,736 is 99 persons over

populated and District 55 at 162,176 is 5,461 under populated. The plan split a

large portion of Killeen from District 54 and replace it with rural parts of the

county. The H 391 Demonstration plan for Districts 54 and 55 equalizes the

population between the 2 districts so that each is essentially the same size and both

24
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 25 of 33




are 1.6% underpopulated. All of Killeen is located in District 54. Since Killeen

is not quite large enough to comprise a state house district a portion of adjoining

Harker Heights is added following voting precinct lines.      Much of the population

of both cities have communities of interest relating to Fort Hood. Voting precinct

lines were maintained except where necessary to maintain population standards or

City lines.

      84. The two districts plug into the current House plan C258 and no

additional County lines are split. As the demonstration plan indicates, the most

recent Citizen Voting Age Population analysis (2009-15) for District 54 shows

Anglos to be 41.4% with the combined Black and Hispanic CVAP at almost 52%.

Based on trend lines, I would put the Combined Black and Hispanic CVAP in

excess of 55% in 2018. I have looked at the preliminary study of polarization for

Bell County, which shows high levels of polarization and cohesion.

      85. In summary, Plan H 391 unites the city limits of Killeen into HD 54,

forming a compact coalition district. Neighborhoods from Fort Hood CDP and

the City of Harker Heights are included to fill out the population of the district,

necessarily splitting the city of Harker Heights. The district performs sufficiently

in exogenous elections to give minority voters the opportunity to elect the

candidates of their choice. Six VTDs are split to confine the district to city limits.

25
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 26 of 33




 7. Bexar County

      86. An analysis of 2014 election returns reveals that HD 117 in Plan H 358

does not perform sufficiently for Hispanic citizens to elect their candidate of

choice. Given the finding of discriminatory intent with respect to HD 117, a full

remediation is appropriate.

      87. Plan H 391 strengthens the electoral performance of HD 117. This is

accomplished by involving only two districts, HD 122 and HD118. In the South

HD 118 picks up more low performing rural territory and HD 117 gains more

politically potent City of San Antonio precincts. HD 118 remains an effective

Latino opportunity district that will continue to perform effectively in general

elections. In the North HD 122 picks up more heavily Anglo suburban voters and

HD 117 gets more City of San Antonio precincts.


Congressional Plans

      88. There are two plans offered which interpret the traditional redistricting

concepts slightly differently.


1. C 283 is a Demonstration Plan for South Texas which has been fit into the
current statewide Congressional Plan. It involves significant changes in Districts
10, 15, 16, 20, 21, 23, 25, 34 and 35. It is a “plug-in” for the Current Plan and no
changes occur in Harris or the Dallas Metroplex.

2. C 285 is an alternative Demonstration Plan for the South Texas Districts and
26
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 27 of 33




also includes modifications of Harris and the Dallas Metroplex.


PLAN C 283

      89. PLAN C 283 is a Demonstration plan designed to simplify and

foreshorten districts 15 and 34.

      90. It creates a new Congressional District (35) in South and East Bexar

County. Congressman Smith is located in that District. It removes the District 28

(based in Laredo) from Bexar County and instead includes South Central Texas

counties that had been in the Laredo Congressional District in earlier years.

      91. District 23 is significantly improved by unpacking El Paso District 16

running it out to Odessa which is the closest available center of population.

      92. When the 1980 Census showed that the overwhelmingly Hispanic

Lower Rio Grande Valley became large enough to support a Congressional

District, the Legislature created such a district by simply combining Hidalgo and

Cameron Counties. The Department of Justice entered an objection to such

packing:

      The area of concern is the area comprising proposed districts 15 and
      27. This portion of South Texas experienced substantial growth
      during the past decade and that 67% of the persons residing in this
      area are Mexican Americans. [matter omitted] We are particularly
      troubled by information indicating that the future population growth
      in this area will (a heavy majority of which likely will continue to be
      Mexican American)is projected primarily in Hidalgo and Cameron
27
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 28 of 33




       Counties. Thus the inclusion of both these two counties into District
       15 may exacerbate the alleged “packing” of Mexican Americans from
       realizing their potential voting strength in District 27.
Objection Letter William Bradford Reynolds to Texas Secretary of State Mark
White Feb. 28, 1982
https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/TX-1920.pdf

      93. Under PLAN C 235, District 16 contains a Hispanic population of 87%

with a 2016 Spanish Surnamed registration of 67%.(compare Red 202 and Red

100 reports).The entire Congressional District 16 is contained in El Paso County.

The balance of 102,000 persons (more than 90% Hispanic) is poured over into

District 23.

      94. As previously indicated, C 283 Demonstration district extends District

16 out to the nearest source of population which is Odessa, Texas. So that instead

of 102,000 persons from El Paso County more than 170,000 are unpacked from

District 16 and added to District 23. As a result District 16 ends up with a

Hispanic population of 74% and a 2016 Spanish Surnamed registration rate of

61.2%.

      95. District 21 has the residence of Congressman Hurd. The largest

population source for this district is from Bexar County and it no longer has any

part of Travis County.




28
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 29 of 33




Alternative South Texas Demonstration

      96. C 285 draws the South Texas Districts without unpacking CD 16

which remains unchanged from the current plan. District 27 runs north from the

Cameron County to Nueces County for the population to meet the standard. It is

essentially an adjustment of plan in effect in 2010.

      97. The balance of Nueces County, including the residence of the current

incumbent is drawn into District 22.

      98. District 15 runs from Hidalgo County to Goliad County. The current

incumbent lives in this district.

      99. District 28 follows the current pattern of extending from Webb County

into Hidalgo County and then up to Guadalupe County. It includes approximately

the same population split from Bexar County and Guadalupe Counties as found in

the plan in effect in 2010. The current incumbent lives in this district.

      100. District 23 has been drawn with a 2016 Spanish Surnamed

registration of 57.8% up from 55.3% in the Current plan. It has a 2011-2015

Hispanic CVAP of 64.0% up from 62.1% in the current plan.

      101. District 35 would be an entirely new district without an incumbent.

Approximately two thirds of the population for the District would be in Bexar

County with an additional 38,000 coming from Atascosa County and the balance

29
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 30 of 33




from an extension North along Highway 35 largely the same as that in Plan C235

or in this Courts vacated interim plan.

      102. Overall, it has a 2016 Spanish Surnamed Registration District 47%

and I estimate it to have a Black Registration of somewhere in the neighborhood

of 15%. There is a long history of Hispanics and African Americans voting

together and the election returns I have looked at shows that the choice of the

minority voters is consistently successful. It has a 2011-2015 Hispanic CVAP

percentage of 55.5% and 9.3% Black alone CVAP.

      103. District 20 has a 2016 Spanish Surnamed registration of 49.9% and I

would estimate that the African American registration is in the range of 10 to 12%.

Again, the election analysis I have done indicates that the district would continue

to elect the candidate of choice of the minority community. District 20 under this

plan has a 2011-2015 Hispanic CVAP of 57.4%. The Hispanic CVAP is slightly

reduced from than in the current plan but the analysis of election returns indicate

that this would have no impact on the ability ro elect candidate of choice.


Harris county and Dallas County

      104. Harris County had a 2010 population of just over 4 million and the

combined population of Dallas and Tarrant Counties were just under 4 million.



30
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 31 of 33




The three counties contain the largest concentration of Hispanic and Black

population in the state. The current geography of the districts is oddly shaped and

each area is divided among 9 different Congressional districts.

       105. What I did was look at the neighborhoods, the growth areas, the

voting precincts the city limit lines and tried to draw districts that would be

compact and still representative of the ethnic and racial compositions of the

counties. This resulted in four highly compact districts in Dallas and Tarrant

Counties and Five highly compact districts in Harris County. The analysis of the

election returns from 2008-2016 show that each of these Districts would elect the

representative of choice of minority voters.


PLAN C 285 Harris

      106. The plan unpacks and simplifies the traditional African American

District 18. Under C 285, District 18 is 40.2% Black Alone CVAP and 18.7%

Hispanic CVAP. Under the Current plan 235, District 18 is 47% Black only

CVAP and 24.4% Hispanic CVAP.

      107. District 9 under C 285 is 41.4% Black only CVAP, 18.4% Hispanic

and 12.2% Asian only CVAP. Under the current plan, C 235 District 9 is packed

at 48.5% Black only CVAP, 22.0% Hispanic CVAP and 10.3% Asian CVAP.



31
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 32 of 33




      108. District 29 under C 285 is 37.6% Hispanic CVAP; 16.5% Black alone

and 6.7% Asian Alone. Under the current plan C-235 District 21 is packed at

61.6% Hispanic CVAP, 16.1% Black only CVAP.

      109. The reorganization of Districts 9, 19, and 29 under C 285 allows for

the creation of an almost square District 34 which is 28.6% Hispanic CVAP,

24.7% Black alone CVAP and 9.1% Asian CVAP. There is no similar district in

the Harris County portion of C235.

      110. The reorganization also allows for the creation of under C-285 of

District 36 which is 50.7% Hispanic CVAP and 15.1% Black alone. There is no

similar district in the Harris County portion of C235.


PLAN C 285 Dallas Metroplex

      111. District 30 is the traditional Black Congressional District in Dallas

County. Under C 285 District 30 is unpacked to 40.8% Black alone CVAP and

14.3% Hispanic CVAP. Under the current plan C-235 is 53.2% Black CVAP and

20.8% Hispanic CVAP.

      112. District 33 under C 285 is drawn entirely in Tarrant County. It

generally follows the District that was in the Court’s vacated Congressional plan.



32
     Case 5:11-cv-00360-OLG Document 1401-2 Filed 05/26/17 Page 33 of 33




It is 30.7% Black only CVAP, 23.0% Hispanic CVAP and 4.6% Asian CVAP.

Under the current plan C 235, the District is in both Dallas and Tarrant Counties.

It is 23.7% Black only CVAP, 43.6% Hispanic CVAP.

        113. As in Dallas County, the reorganization and restructuring of the

existing minority Districts allows for the creation of two additional Districts in the

growing Hispanic and Black portions of East and West Dallas County. District 3

in Eastern Dallas County becomes a Black and Hispanic opportunity district at

23.9% Hispanic CVAP, 27.9% Black CVAP and 3.4% Asian CVAP. The

minority community outside of the areas involving Districts 6 and 30 in the

current plan is split or cracked into Districts 5, 32, 24 and 33 under the current

plan.

        114. The reorganization also allows for the creation of District 6 in West

Dallas County. It is highly compact combined Black and Hispanic opportunity

district at 37.9% Hispanic CVAP, 16.5% Black CVAP and 5.5% Asian CVAP.

        116.   The information on residency was only recently made available. I

want to check to make sure that we were able to use it in all of our Demonstration

districts.

Respectfully Submitted

/S/ George Korbel
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George Korbel
33
